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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




IN RE:    NEW ENGLAND                                     MDL No. l:13-md-2419-FDS
COMPOUNDING PHARMACY, INC.
PRODUCTS LIABILITY LITIGATION


This Document Relates To:


         All Actions




      FURTHER ORDER CONCERNING PRESERVATION OF NECC PROPERTY

         Upon consideration of the Chapter 11 Trustee's Motion (DocketNo. 147) seeking partial
relief from this Court's previously entered Preservation Order with respect to the property and
premises of New England Compounding Pharmacy (Docket No. 110, docketed in Erkan v. New
England Compounding Pharmacy, Civil Action No. 12-12052-FDS) (the "Preservation Order"),
it is hereby:

ORDERED that the Chapter 11 Trustee's motion is GRANTED, subjectto the following
conditions:


         1.     Notice of the Court's entry of this Order and the resulting modification of the
                Preservation Order in the form attached as Exhibit A shall issue to all parties in
                each of the consolidated MDL cases, via ECF entry of this Order.

         2.     Notice shall also be provided, in either hard copyor electronic form, by the Office
                of the U.S. Attorney, to any personor entitythat it believes should have notice of
                the Court's proposed liftingof the Preservation Order. Such notice shall be issued
                within three business days after the entry of this Order.

         3.     Within 30 days after the entry of this Order, any recipient of notice wishing to
                request (a "Preservation Request") that this Court not modify the Preservation
                Order as set forth herein as to some or all of the real or tangible property covered
                by the Chapter 11 Trustee's motion (identified in the Schedule of Subject Property
                attached as Exhibit B, and such other real and tangible property, whether leased or
                owned, that the Chapter 11 Trustee determines should be moved, relocated, sold
                and/or otherwise disposed of) shall show cause with this Court, in writing
                docketed in the main action, No. 13-md-2419-FDS, why the Preservation Order
                should not be modified, in whole or in part, in the manner requested by the
                Chapter 11 Trustee. Any such Preservation Request must identify the property
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               that the requestor seeks to have preserved under the Preservation Order. The
               submission of a Preservation Request shall not impose upon the Trustee an
               obligation to pay storage and related costs for further preservation of such
               property. This process shall not apply to any property not currently covered by the
               Preservation Order.


      4.       The modification to the Preservation Order requested by the Chapter 11 Trustee
               shall become effective upon the expiration of the 30-day period provided by
               Paragraph 3 if no Preservation Requests are filed with this Court with respect to
               any one or more items of the property, or, if Preservation Requests are received,
               upon this Court's determination that modification is necessary or appropriate,
               which shall be made by separate order.

      5.       From time to time hereafter, the Trustee may seek further relief from the
               Preservation Order with respect to any of the remaining property of the estate that
               is or may be subject to the Preservation Order. Notice of any such further requests
               shall be provided in the manner and to the parties in interest, persons and entities
               described in paragraphs 1 and 2 above (a "FurtherNotice"). Absentthe filing
               with this Court of a Preservation Request within 14 days after the date of any such
               Further Notice, any such propertythat is not the subject of a Preservation Request
               may, without further order of this Court, be moved, relocated, sold or otherwise
               disposed of by the Trustee in such manner as he deems necessary or appropriate
               and in the best interest of NECC's bankruptcy estate. As to any such property
               which is subject to a timely Preservation Request, such property shall be dealt
               with as determined by further order of this Court.

      6.       Nothing herein shall alter, impair, or abrogate any otherobligation imposed by the
               Preservation Order with respectto property other than the SubjectProperty and
               such other real and tangible property, whether leased or owned, that the Chapter
               11 Trustee hereafter determines should be moved, relocated, sold and/or otherwise
               disposed of. To the extent that any of the property at issue contains electronically
               stored information (ESI), NECC retains the obligation to preserve and store such
               ESI unaltered.


IT IS FURTHER ORDERED that the Preservation Order is hereby modified to add the
following
provisions:

               a.      Nothing in this order in anywayrestricts, limits or impairs the Chapter 11
                       Trustee's ability to reject unexpired leases of NECC or applies to any
                       property not subject to the Preservation Order.

               b.      Nothing in this order shall be deemed to impose upon the Chapter 11
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                    Trustee any obligation (including, without limitation, any payment
                    obligation) to any lessor of equipment or the lessor of the premises
                    operated by NECC (collectively, the "Lessor(s)"), or to entitle Lessor to
                    any claim or administrative expense in NECC's bankruptcy case or
                    otherwise against NECC's bankruptcy estate, including, without
                    limitation, arising after the effective date of any rejection of any unexpired
                    lease of NECC by the Chapter 11 Trustee under section 365 of the
                    Bankruptcy Code.

             c.     From and after the effective date of rejection of an equipment lease under
                    section 365 of the Bankruptcy Code, each lessor of Equipment shall be
                    solely responsible to third parties for, and shall be deemed to have
                    indemnified the Chapter 11 Trustee for, costs, fees and expenses related to
                    the applicable equipment (including costs to the lessor of the premises for
                    storage, rent and use and occupancy).

             d.     Removal of Leased Property by Requesting Lessors: From and after the
                    effective date of rejectionof an equipment lease under section 365 of the
                    BankruptcyCode, any lessor seekingto recover possession of its
                    equipment ("Requesting Lessor") shall first make written request upon the
                    Chapter 11 Trustee, the Plaintiffs' Lead Counsel, the Individual
                    Defendants' Liaison Counsel and the United States Trustee (collectively,
                    the "Notice Parties"). Each of the Notice Parties shall have 7 days from
                    the receipt of the request ("Response Deadline") to delivera Preservation
                    Request written response to the Requesting Lessor, with copies to all of
                    the other Notice Parties.

             e.     No equipment or leased property shall be removed, relocated or disposed
                    of by the Requesting Lessor, if any of the Notice Parties or a third party
                    noticed under Paragraph 2 of this Order tenders a Preservation Request
                    with respect to the removal of suchequipment or leasedproperty. In the
                    event any persontenders sucha Preservation Request, any such equipment
                    or leased property shall remain subject to the restrictions set forth in the
                    Preservation Order pending further order of this Court.

             f.     Any removal of equipment or leased property by a Requesting Lessor(or
                    its designees) shall be at the sole cost and expense of the Requesting
                    Lessor. The Requesting Lessor shall be deemed to have agreed to
                    indemnifyand hold the NECC estate harmless from any and all claims
                    related to the Requesting Lessor's removal of equipment or leased
                    property.

                                                   /s/ F. Dennis Savior
Dated: June 12, 2013                               F. Dennis Saylor IV
Boston, Massachusetts                              United States District Judge
